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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

In re:
                                                                     Chapter 11
PROTERRA INC, et al.,1
                                                                     Case No. 23-11120 (BLS)
                          Debtors.
                                                                     (Jointly Administered)

                               NOTICE OF SUBSTITUTION OF COUNSEL

           PLEASE TAKE NOTICE that Dennis A. Meloro, Oscar N. Pinkas, Sara A. Hoffman

and Jessica M. Wolfert of Greenberg Traurig, LLP hereby withdraw as counsel for IVECO

Group N.V. and certain affiliates (“IVECO”), in the above-captioned cases. The undersigned

further requests that the Clerk of the United States Bankruptcy Court for the District of

Delaware, or any claims or noticing agent appointed in these cases, remove each of them from

the electronic and paper noticing matrix for the above-captioned cases only as to IVECO.

           PLEASE TAKE FURTHER NOTICE that G. David Dean and Jack M. Dougherty of

Cole Schotz P.C. and Luc Despins and G. Alexander Bongartz of Paul Hastings LLP hereby

enter their appearances as counsel for IVECO S.p.A. and EVCO GmbH in the above-captioned

cases.

                                       [Remainder intentionally left blank]




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are as follows: Proterra Inc (9565); and Proterra Operating Company, Inc. (8459). The location of the
    Debtors’ service address is: 1815 Rollins Road, Burlingame, California 94010.
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Dated: November 9, 2023

GREENBERG TRAURIG, LLP                          COLE SCHOTZ P.C.

/s/ Dennis A. Meloro                            /s/ G. David Dean
Dennis A. Meloro (No. 4435)                     G. David Dean (No. 6403)
222 Delaware Avenue, Suite 1600                 Jack M. Dougherty (No. 6784)
Wilmington, DE 19801                            500 Delaware Avenue, Suite 1410
Telephone: (302) 661-7395                       Wilmington, DE 19801
Dennis.Meloro@gtlaw.com                         Telephone: (302) 652-3131
                                                Facsimile: (302) 652-3117
    - and -                                     ddean@coleschotz.com
                                                jdougherty@coleschotz.com
GREENBERG TRAURIG, LLP
Oscar N. Pinkas, Esq.                           - and -
Sara A. Hoffman, Esq.
Jessica M. Wolfert, Esq.                        PAUL HASTINGS LLP
One Vanderbilt Avenue                           Luc Despins (Pro Hac Vice forthcoming)
New York, NY 10017                              G. Alexander Bongartz (Pro Hac Vice
Telephone: (212) 801-9200                       forthcoming)
PinkasO@gtlaw.com                               200 Park Avenue
HoffmanS@gtlaw.com                              New York, NY 10166
Jessica.Wolfert@gtlaw.com                       Telephone: (212) 318-6000
                                                Facsimile: (212) 319-4090
Withdrawing Counsel to IVECO Group N.V.         lucdespins@paulhastings.com
and certain affiliates                          alexbongartz@paulhastings.com

                                                Counsel for IVECO S.p.A. and EVCO GmbH




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